           Case 1:20-cr-00278-TNM Document 42 Filed 09/14/21 Page 1 of 6




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


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UNITED STATES OF AMERICA,

                                   Plaintiff,
                                                        1:20-cr-00278 TNM
                 -v-

KEITH BERMAN,

                                   Defendant.

----------------------------------------------------x

                DEFENDANT’S REPLY TO THE GOVERNMENT’S OPPOSITION
                      TO THE MOTION TO DISMISS COUNT TWO

        The defendant Keith Berman, by and through his undersigned counsel, respectfully

submits this reply to the Government’s opposition to Mr. Berman’s motion to dismiss Count Two

of the Indictment which alleges wire fraud in violation of 18 U.S.C. Section 1343.

        Count Two alleges a “scheme or artifice to defraud, and to obtain money or property”

through the deceptive use of interstate wires. However, neither the Indictment nor the

Government’s opposition identifies what “money or property” was defrauded, who the victims of

the alleged scheme to defraud are, and how Mr. Berman allegedly diverted fraudulently obtained

proceeds to himself.

        Without clarity on this critical point, the defense has not been provided with adequate

notice. As the Supreme Court has long held, allegations based on statutory language “must be

accompanied with such a statement of the facts and circumstances as will inform the accused of
         Case 1:20-cr-00278-TNM Document 42 Filed 09/14/21 Page 2 of 6




the specific offense…with which he is charged.” Hamling v. United States, 418 U.S. 87, 117-18

(1974) (quoting from United States v. Hess, 124 U.S. 483, 487 (1888)); United States v. Yefsky,

994 F.2d 885, 993 (1st Cir. 1993) (such clarity is required “where guilt depends so crucially upon

…a specific identification of facts.”). As even the Justice Department’s own Criminal Resource

Manual provides: “a mail or wire indictment should contain a reasonably detailed description of

the particular scheme the defendant is charged with devising to ensure that the defendant has

sufficient notice of the offense.” DOJ CRM 971.

       From the outset, the Government has taken the position that the victims of the alleged

fraud were DECN shareholders—presumably stemming from the fact that this was at first solely

a securities fraud case before the parallel wire fraud count, based on the securities fraud

allegations, was added to the superseding Indictment. Page 5 of the Indictment is titled: “The

Scheme to Defraud Investors.” In its April 4, 2021 expert witness disclosure, the Government

advised that its witness “may testify about trading by specific shareholders (including victims).”

The Government has subsequently advised it intends to call shareholders as trial witnesses.

Paragraph 65 of the Indictment alleges that DECN investors “lost millions of dollars by, among

other things, purchasing DECN common stock at artificially inflated prices and selling their

shares at a loss,” and Par. 13 alleges in conclusory terms that Mr. Berman “divert[ed] the

proceeds of the scheme for his personal use and benefit.”

       Despite the allegations about investor losses and the diversion of the proceeds of the

alleged fraud, the Government disclaims that these losses are the object of the wire fraud.

According to the Government, Mr. Berman “is not alleged to have directly diverted to himself

these victim losses—that is, the delta between the artificially inflated DECN stock price at which


                                                !2
          Case 1:20-cr-00278-TNM Document 42 Filed 09/14/21 Page 3 of 6




they purchased and the low price at which they sold.” But that disclaimer is followed by a

sentence notable for both its vagueness and apparent contradiction of the preceding sentence:

“Rather, he is alleged to have diverted to himself the proceeds of DECN securities purchases at

prices artificially inflated by his misrepresentations.” (Govt. Opp. 3)

       The meaning of these juxtaposed sentences is so unclear that it calls to mind Justice

Stevens’ remark in a different context: “This nuance eludes me.” Phillip Morris v. Williams, 549

U.S. 346, 360 (2007) (Stevens, J., dissenting). But that may be giving the Government undue

credit for subtlety. How can the two sentences be parsed—or reconciled? What is the distinction

between Mr. Berman having not “directly diverted to himself victim losses,” but having

“diverted to himself the proceeds of DECN securities purchases”? The Government returns to

this subject toward the end of its opposition but offers no greater coherence: “As noted above,

the superseding indictment explicitly alleges that the purpose of defendant’s scheme was to

obtain money or property in the form of value gained through investors’ purchases of artificially

inflated DECN securities.” (Govt. Opp. 4) This offers only further confusion.

       Adding to the uncertainty, the Government refers to an accusation in the Indictment

involving another purpose of the alleged fraud—and even contends that it need not prove any

victim was defrauded out of money or property—that for purposes of this wire fraud prosecution,

it “need not allege and prove that the defendant obtained a victim’s loss [or] prove any loss at

all.” (Govt. Opp. 3)

       Taking these two issues in turn, the Government points to paragraph 13 of the Indictment

which alleges that the purpose of Mr. Berman’s alleged scheme was “to enrich himself through

access to the additional corporate funds and compensation that resulted. That is wire fraud.” This


                                                 !3
          Case 1:20-cr-00278-TNM Document 42 Filed 09/14/21 Page 4 of 6




emphatic declaration might be more convincing if it were not supported by an “e.g.” citation to

United States v. Clark, 717 F.3d 790 (10th Cir. 2013), a prosecution involving a classic pump and

dump scheme. Despite the Government’s repeated refrain of DECN’s stock being “artificially

inflated,” the Indictment alleges no dump; nor could it since there is no allegation that Mr.

Berman sold a single share of DECN stock during the period of the alleged fraud.

       Nor does the Indictment allege that any corporate funder or other source of financial

support for DECN’s business operations was victimized by the alleged fraud. With respect to the

issue of compensation, the Government will recall that it argued, in opposition to the defense bail

motion that Mr. Berman could manage DECN more effectively if his travel restrictions were

modified, that this was unnecessary because Mr. Berman occupied an “unpaid position” at

DECN—having advised Pretrial Services that he was not taking a salary from the company. This

occurred after the period when, the Indictment alleges, Mr. Berman was enriching himself

through the alleged scheme to defraud.

       The Government also points to Mr. Berman’s mention, in an email that refers to the Bio,

the long-time manufacturer of DECN’s line of products, to the effect that “the new story” of the

coronavirus and impedance will allow him to “raise millions.” (Par. 11). As even a cursory

review of DECN’s Annual Report for year-end 2019, filed March 2020—the month the alleged

fraud purportedly commenced—shows the company’s acknowledged need for substantial

financing for business operations, including loans and lines of credit. The same filing also refers

to Mr. Berman arranging through friends, family, and other sources to lend $450,000 to DECN.

Properly understood, the need for financing for DECN is the context of Mr. Berman’s reference

to “raising millions.”


                                                !4
         Case 1:20-cr-00278-TNM Document 42 Filed 09/14/21 Page 5 of 6




       On the issue of whether the Government need not prove the existence of a victim whose

money or property was defrauded, the best that can be said of this position is that it is opposed by

a very substantial body of case law. In addition to the authorities cited in the opening motion—

all of which the Government ignores save for its perfunctory effort to distinguish Kelly v. United

States, 140 S.Ct. 1565 (2020)—the cases, including from this Circuit, are legion that hold it is

essential to wire fraud that the defendant aim to defraud identifiable victims of their money or

property. See, e.g., United States v. Lemire, 720 F.2d 1327, 1335-36 (D.Cir. 1983) (“[T]here is

judicial consensus about certain requisite elements of a scheme to defraud…[T]he scheme to

defraud must threaten some cognizable harm to its target …”); United States v. Miller, 953 F.3d

1095, 1103 (9th Cir. 2020) (“[W]e…hold that wire fraud requires the intent to…deprive the

victim of money or property by deception.”); 2 Sand, et. al., Modern Federal Jury Instructions

44-5 (2019) (“‘Intent to defraud’ means to act knowingly and with the specific intent to deceive,

for the purpose of causing some financial or property loss to another.”)

       Finally, on Kelly, the Government focuses on the Supreme Court’s rejection of one of the

Government’s vain efforts to salvage the conviction, and suggests the decision should be

confined to its unique facts. But the Court did not write a narrow opinion. Instead, it discussed

the foundational requirement that wire fraud is a property crime while holding that “a defendant

violates Section 1343 only if an object of [his] dishonesty was the [victim’s] money or property

[and] …the Government must prove property fraud.” 140 S. Ct. at 1568, 1571.

Conclusion

       The motion to dismiss Count Two for failure to allege a wire fraud scheme that defrauded

victims of their money or property has led to a Government opposition that (1) disavows one


                                                 !5
         Case 1:20-cr-00278-TNM Document 42 Filed 09/14/21 Page 6 of 6




theory of wire fraud liability based on transactions in DECN shares and the diversion of fraud

proceeds, and (2) spins out a description of one or more incomprehensible wire fraud theories

which are also based on DECN stock purchases and the diversion of fraud proceeds. Since the

Government has repeatedly failed to identify the victims of the alleged fraud whose money or

property was the object of the wire fraud, or how Mr. Berman received any proceeds from

publicly traded stock transactions—whether, described as victim losses, securities purchases, or

value gained from investor purchases— Count Two must be dismissed.

Dated: September 14, 2021

                                            Respectfully submitted,


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                                               !6
